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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


CONTRARIAN CAPITAL MANAGEMENT,
L.L.C., CONTRARIAN CAPITAL FUND I,
L.P., CONTRARIAN DOME DU GOUTER
MASTER FUND, LP, CONTRARIAN
CAPITAL SENIOR SECURED, L.P.,
CONTRARIAN EM II, LP, CONTRARIAN                       Case No. 19 Civ. 11018 [rel. Nos. 19
EMERGING MARKETS, L.P., POLONIUS                       Civ. 3123 & 18 Civ. 11940]
HOLDINGS, LLC, and CONTRARIAN
FUNDS, L.L.C.,                                         Hon. Analisa Torres
                     Plaintiffs,

               v.

BOLIVARIAN REPUBLIC OF VENEZUELA,

                           Defendant.


           PLAINTIFFS’ NOTICE OF MOTION FOR FEES AND EXPENSES

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, dated

October 30, 2020, the accompanying Declaration of Steven F. Molo and the exhibits thereto, and

all prior proceedings and papers in this action, Plaintiffs Contrarian Capital Management, L.L.C.,

Contrarian Capital Fund I, L.P., Contrarian Dome du Gouter Master Fund, LP, Contrarian

Capital Senior Secured, L.P., Contrarian EM II, LP, Contrarian Emerging Markets, L.P.,

Polonius Holdings, LLC, and Contrarian Funds, L.L.C., by and through their undersigned

counsel, hereby move the Honorable Analisa Torres, United States District Court for the

Southern District of New York, 500 Pearl Street, New York, New York, for an order granting

Plaintiffs’ Motion for Fees and Costs, and for such further relief as the Court deems just,

necessary, and proper.
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         PLEASE TAKE FURTHER NOTICE that, in accordance with the court’s October 1,

2020 opinion granting Plaintiffs’ motion for summary judgment, Dkt. 74, Defendant’s opposition

is due November 30, 2020.



Dated:    October 30, 2020                        Respectfully submitted,
          New York, New York

                                                  /s/ Steven F. Molo
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